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                                            UNITED STATES DISTRICT COURT
                                           NORTHERN DISTRICT OF OKLAHOMA


 United States of America,
                                                           Plaintiff,       Case No.:     22-cr-00115-JFH-4
 vs.                                                                        Date:         1/4/2023
                                                                            Court Time:   11:30 a.m. to 11:45 a.m.

 Johnny Wesley Boyd Sparks,
                                                       Defendant(s).        MINUTE SHEET CHANGE OF PLEA

Donald D. Bush, Magistrate Judge                       C. Butler, Deputy Clerk            FTR CR5

Counsel for Plaintiff:    David Nasar
Counsel for Defendant: Jeffrey Allen Williams             , FPD
Probation Officer:        not present
Age of Defendant:         35                              Interpreter:                                     ☐ sworn
Defendant appears in person: ☒ with Counsel;           ☐ Counsel waived;         ☐ w/o Counsel;            Defendant:    ☒ sworn;
☒ Defendant Consents to Magistrate conducting Guilty Plea Hearing
Defendant’s name as reflected in the Indictment
         ☒ Verified in open court as the true and correct legal name
☒ Defendant acknowledges receipt of Indictment
Defendant waives:        ☐ Indictment; ☒ Jury Trial;      ☐ Speedy Trial;          ☐ 30 Days Preparation; ☐ Separate Representation
                         ☒ Waivers approved by Court;
                                                                                                                 Reading waived
Defendant advised of: ☒ Charge and ☒ Indictment                                    Indictment:          ☐ Read ☒ in Petition
☒ Defendant does not dispute facts of charge
☒ Petition to enter plea of Guilty sworn and executed
☒ Defendant withdraws not guilty plea(s) as to those Count(s) 41
  of the Indictment and Defendant enters guilty plea(s) as to those counts
☒ Defendant adjudged guilty as charged as to Count(s) 41
  of the Indictment
☒ Petition approved in open court                       ☒ Plea Agreement approved in open Court                      ☒ PSI ordered
☒ Remaining Count(s) to be dismissed at sentencing: Count 6 of the Indictment
☒ SENTENCING to be scheduled upon completion of PSI
☐ Defendant allowed to stand on present bond; ☐ Government stipulates, findings made
☒ Defendant remanded to custody of U.S. Marshal
Additional Minutes:




Change Plea Magistrate Judge                                                                                                 (8/2021)
